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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

                                                 Case No. 2:17-cv-00929- JMV-JBC

                                                 ORDER GRANTING JOINT
                                                 STIPULATION EXTENDING
     IN RE GALENA BIOPHARMA, INC.                DEADLINE FOR PLAINTIFFS
     SECURITIES LITIGATION                       TO FILE A THIRD AMENDED
                                                 COMPLAINT AND SETTING
                                                 BRIEFING SCHEDULE


         Upon consideration of the Joint Stipulation Extending Deadline on Plaintiffs’

   Third Amended Complaint and Setting Briefing Schedule, and good cause

   appearing, the Joint Stipulation is GRANTED.

         The Court hereby Orders as follows:

         1. Plaintiffs’ Third Amended Complaint shall be filed on or before February

            18, 2021.

         2. Defendants’ motion to dismiss shall be filed on or before April 5, 2021.

         3. Plaintiffs’ response to Defendants’ motion to dismiss shall be filed on or

            before May 20, 2021.

         4. Defendants’ reply shall be filed on or before June 9, 2021.*

   IT IS SO ORDERED.

   Dated: February 3, 2021                      ______________________________
                                                Honorable John Michael Vazquez
                                                United States District Judge
*Upon filing of the motion to dismiss the court will administratively terminate the motion and
reinstate it on May 19, 2021.
